     Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 1 of 24




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA         :     Case No:
                                 :
          v.                     :
                                 :     VIOLATIONS:
                                 :
STEVEN MILES, and                :     18 U.S.C. § 111(a)(1)
MATTHEW LEBRUN,                  :     (Assaulting, Resisting, or Impeding
                                 :     Certain Officers)
                                 :     18 U.S.C. § 231(a)(3)
                                 :     (Civil Disorder)
          Defendants.            :     18 U.S.C. § 1361
                                 :     (Destruction of Government Property)
                                 :     18 U.S.C. § 1752(a)(1)
                                 :     (Entering and Remaining in a Restricted
                                 :     Building or Grounds)
                                 :     18 U.S.C. § 1752(a)(2)
                                 :     (Disorderly and Disruptive Conduct in a
                                 :     Restricted Building or Grounds)
                                 :     18 U.S.C. § 1752(a)(1) and (b)(1)(A)
                                 :     (Entering and Remaining in a Restricted
                                 :     Building or Grounds with a Deadly or
                                 :     Dangerous Weapon)
                                 :     18 U.S.C. § 1752(a)(2) and (b)(1)(A)
                                 :     (Disorderly and Disruptive Conduct in a
                                 :     Restricted Building or Grounds with a
                                 :     Deadly or Dangerous Weapon)
                                 :     18 U.S.C. § 1752(a)(4) and (b)(1)(A)
                                 :     (Physical Violence in a Restricted Building
                                 :     or Grounds with a Deadly or Dangerous
                                 :     Weapon)
                                 :     40 U.S.C. § 5104(e)(2)(D)
                                 :     (Disorderly Conduct in
                                 :     a Capitol Building)
                                 :     40 U.S.C. § 5104(e)(2)(F)
                                 :     (Act of Physical Violence in the Capitol
                                 :     Grounds or Building)
                                 :     40 U.S.C. § 5104(e)(2)(G)
                                 :     (Parade, Demonstrate, or Picketing in
                                 :     a Capitol Building)
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 2 of 24




                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR AN ARREST WARRANT

       I, Christopher Leckinger, being first duly sworn, hereby depose and state as follows:

                           INTRODUCTION AND BACKGROUND

       1.      I make this affidavit in support of an application for arrest warrants for STEVEN

MILES and MATTHEW LEBRUN.

       2.      As a Special Agent with the FBI, I am “an investigative or law enforcement officer”

of the United States within the meaning of 18 U.S.C. § 2510(7), that is, an officer of the United

States who is empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Title 18 of the United States Code. I have been an FBI Special Agent since

approximately January 2010, and I am currently assigned to the FBI’s Tampa, Florida Field Office,

where I work with the Joint Terrorism Task Force. I obtained my Master’s degree in Information

Technology from the Rochester Institute of Technology and my Bachelor’s degree in Computer

Science from the State University of New York at Geneseo. I have gained experience through

training at the FBI Academy in Quantico, Virginia, and through everyday work conducting

investigations. As an FBI Special Agent, I have participated in investigations involving the

violations of various federal laws, including laws related to cybercrime, terrorism,

counterintelligence, and other criminal activities. In addition to my regular duties, I am tasked

with investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.



                                                  2
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 3 of 24




       4.      The United States Capitol (“the Capitol”) is secured 24 hours a day by U.S. Capitol

Police. Restrictions around the Capitol include permanent and temporary security barriers and

posts manned by U.S. Capitol Police. Only authorized people with appropriate identification are

allowed access inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also

closed to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives (“the House”) and the United States Senate

(“the Senate”) were meeting in separate chambers of the Capitol to certify the vote count of the

Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.

The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m.,

the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the Capitol, including by breaking



                                                 3
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 4 of 24




windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the House and Senate,

including the President of the Senate, Vice President Pence, were instructed to—and did—

evacuate the chambers. Accordingly, the joint session of the United States Congress was

effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the United

States Capitol from the time he was evacuated from the Senate Chamber until the sessions

resumed.

       9.      During national news coverage of the aforementioned events, video footage, which

appeared to be captured on mobile devices of persons present on the scene, depicted evidence of

violations of local and federal law, including scores of individuals inside the Capitol building

without authority to be there.

                                     PROBABLE CAUSE

       10.     STEVEN MILES (“MILES”) is a 38-year-old resident of Florida. According to

records associated with his Florida driver’s license, MILES is 5’6” tall. As a part of this

investigation, I have reviewed the image of MILES associated with his November 2021 Florida

driver’s license, which depicts MILES with a brown beard.

       11.     I am familiar with MILES’ appearance from having personally observed him.

According to lawfully obtained flight records, on January 27, 2022, MILES flew from Salt Lake

City, Utah and arrived in Tampa, Florida on January 28, 2022. I am aware that the Transportation

Security Administration (“TSA”) requires airlines to collect identifying information from

individuals to register for flights including their true name and date of birth and that the TSA

requires individuals to present an identification document that matches this data during a security

check prior to a flight. A member of the Federal Air Marshal Service observed MILES during this

                                                4
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 5 of 24




flight and, upon arrival in Florida, identified MILES to me. I then followed and observed MILES,

who, after exiting the airport, entered a vehicle that is registered in his name.

       12.     MATTHEW LEBRUN, (“LEBRUN”) is a 33-year-old resident of New Orleans,

Louisiana. According to records associated with his August 2018 Louisiana driver’s license,

LEBRUN is 5’7.” As a part of this investigation, I have reviewed the image of LEBRUN

associated with his criminal history, which depicts LEBRUN.

       13.     In May 2021, FBI agents searched the cellular telephone of a separately charged

January 6 defendant (“Defendant-1”) pursuant to a judicially authorized search warrant. A review

of the contents of Defendant-1’s cellular telephone revealed numerous text messages between

Defendant-1 and a telephone number ending in “0798” (the “0798 Number”) spanning January 5-

6, 2021. The 0798 Number is believed to have been used by LEBRUN because, among other

reasons, (1) on January 5, 2021, the 0798 Number sent Defendant-1 a text message reading only

“Matthew LeBrun,” followed by Image 1 below, which appears to be a selfie-style photograph;

and (2) the 0798 Number is subscribed to “Matt LeBrun” at an address in New Orleans, Louisiana.




                                                  5
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 6 of 24




                                             Image 1

       14.     The individual depicted in Image 1 is consistent in appearance with LEBRUN, as

he appears in the photograph associated with his criminal history. Additionally, a confidential

source who works in the service industry near New Orleans, Louisiana and who sees LEBRUN

regularly as part of his/her job identified the man depicted in Image 1 as LEBRUN.

       15.     Image 1 shows LEBRUN wearing a dark-colored gaiter with stars, a dark bandana

with stars on it, dark sunglasses, and a black tactical vest over a gray vest. The tactical vest is

adorned with an American flag patch where the logo for the “Three Percenters” militia group takes

the place of the stars. LEBRUN also appears to be wearing a body camera, which is attached to

the tactical vest on LEBRUN’s chest.




                                                6
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 7 of 24




        16.   According to LEBRUN’s text messages with Defendant-1, at approximately 4:23

a.m., on January 6, 2021, LEBRUN alerted Defendant-1 that he “got called to respond to antifa in

freedom plaza. Supposedly they busted a woman in the face. Going to meet up with some guys

now.”

                        The Defendants’ Actions on January 6, 2021

        17.   The FBI received a tip regarding the January 6, 2021, attack on the U.S. Capitol

building from an individual referred to herein as the Witness. The Witness explained that she met

two men and posed for a photograph with them. See Image 2 below. The Witness also explained

that the man on the right in the photograph was from Portland1 and the man on the left in the

photograph was from “NOLA,” which I understand to be an acronym for New Orleans, Louisiana.

The Witness heard the men saying, among other things, that they had broken into the Capitol

building by breaking a window.




        1
              AT&T records obtained pursuant to legal process link MILES to an address in The
Dalles, Oregon, which is approximately 73 miles from Portland, Oregon.
                                               7
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 8 of 24




                                          Image 2

       18.    The men were STEVEN MILES and MATTHEW LEBRUN. MILES, who has a

brown beard, can be seen wearing a red “Make America Great Again” baseball hat, a tan

camouflage jacket with a patch that reads “MILES” on his left sleeve, navy gloves, camouflage

pants, a backpack and tan boots. In other video and photographs from January 6, 2021, MILES

can be seen wearing a black shirt that reads “Trump 2020 Fuck Your Feelings” and his backpack


                                             8
        Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 9 of 24




underneath his tan camouflage jacket as well as black fingerless gloves. LEBRUN can be seen

wearing a dark long-sleeved shirt, a grey vest, a black tactical vest, a dark American flag gaiter, a

navy bandana with stars on it, dark sunglasses, black gloves, jeans and dark shoes. These appear

to be the same items that LEBRUN can be seen wearing in Image 1.

       19.     Leading up to the attack on the Capitol on January 6, 2021, LEBRUN and MILES

were frequently observed with a small group of individuals, including: (1) Zachary Johnson, who

wore a long-sleeved camouflage shirt with a patch that reads “INFIDEL” on the left sleeve and

“WHITE” on the right sleeve, a tactical vest, jeans, black gloves, an olive-green balaclava, a black

baseball cap that reads “Hurley” on the rear and has the Hurley logo in the colors of the American

flag on the front, glasses, goggles, and grey sneakers; and (2) Dion Rajewski, who wore a grey

hooded sweatshirt, jeans, brown gloves, a multi-colored mask and a black baseball cap that reads

“Once a Marine Always a Marine” on the front of the hat, “United States” on the top rear of the

hat and “Marines” on the rear closure, and who had grey hair. Johnson and Rajewski marched to

the Capitol with the same group as MILES and LEBRUN.

       20.     On January 6, 2021, prior to the attack on the Capitol, various groups and

individuals walked in the streets of Washington, D.C., around and to the area of the Capitol. Media

and other third-parties documented some of these groups’ and individuals’ movements that day.

MILES and LEBRUN marched one such group. Another man that marched in this same group is

Alan Fischer III, who wore dark sunglasses, a black zip-up Carhartt jacket, a grey hooded

sweatshirt, grey pants and brown shoes, and who had a slicked back brown hair and a brown beard.2


       2
               On February 9, 2022, Johnson, Fischer and Rajewski were charged by superseding
indictment, in case number 22-CR-11, with violations of 18 U.S.C. §§ 231(a)(3), 1752(a)(1), (2)
and (4) and 40 U.S.C. § 5103(e)(2). Johnson was also charged with a violation of 18 U.S.C. §
111(a)(1) and (b). Fischer was also charged with violations of 18 U.S.C. § 111(a)(1) and (b) and
40 U.S.C. § 5104(e)(2)(F). All of these charges relate to the attack on the Capitol.


                                                 9
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 10 of 24




Images 3 through 5 (below) were captured from video taken on January 6, 2021, near the U.S.

Capitol building and depict MILES and LEBRUN as they marched. 3




                                              Image 3




       3
               The individual in Images 3 – 9 and 12, 14 – 22, whose face is partially or fully
obscured, has been identified as MILES based on (1) a comparison of his Florida driver’s license
image, my personal observation of MILES, as well as other images and videos of the events on
January 6, 2021, in which MILES’ face was not obscured and (2) his proximity to individuals who
MILES spent time with on January 6, 2021, including LEBRUN, Fischer, Johnson and Rajewski.
In such images and video, MILES appears to be wearing clothes consistent with those depicted in
Images 3 – 9 and 12, 14 – 22.

        The individual in Images 2, 4 – 6, 8, 9, 11, 13, 14, 18, 19, 21 – 22, whose face is partially
or fully obscured, has been identified as LEBRUN based on (1) a comparison of his Louisiana
driver’s license image, Image 1, as well as other images and videos of the events on January 6,
2021, in which LEBRUN’s face was not obscured and (2) his proximity to individuals who
LEBRUN spent time with on January 6, 2021, including MILES, Fischer, Johnson and Rajewski.
In such images and video, LEBRUN appears to be wearing clothes consistent with those depicted
in Images 2, 4 – 6, 8, 9, 11, 13, 14, 18, 19, 21 – 22.
                                                 10
Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 11 of 24




                            Image 4




                            Image 5


                               11
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 12 of 24




       21.    Eventually MILES and LEBRUN made their way to the restricted grounds on the

West Front of the U.S. Capitol, as captured in Image 6, and as seen in Image 7, MILES is observed

holding his cellular telephone in a way consistent with him filming or taking photographs.




                                            Image 6




                                            Image 7




                                               12
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 13 of 24




       22.     On the West Front, MILES and other rioters then engaged in a confrontation with

police officers who were protecting the Capitol. During this confrontation, MILES shoved and

attempted to punch police officers, as seen in Images 8 and 9.




                                            Image 8




                                               13
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 14 of 24




                                            Image 9

       23.     After the confrontation with police, MILES and LEBRUN appeared on the West

Front of the Capitol without their masks/gaiters, as captured in Images 10 – 12.




                      Image 10                                      Image 11

                                                14
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 15 of 24




                                           Image 12

       24.     MILES and LEBRUN maneuvered their way to a staircase inside of scaffolding

on the northwest side of the Capitol. See Image 13.




                                           Image 13

       25.    At approximately 2:10 p.m., MILES and LEBRUN traveled up the staircase from

the West Front to the Upper West Terrace of the Capitol. See Image 14.



                                               15
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 16 of 24




                                          Image 14

       26.    At approximately 2:12 p.m., U.S. Capitol CCTV footage depicts individuals

banging on the Senate Wing Door and the windows on either side of the door with their fists and

other blunt items, including planks of wood and a U.S. Capitol Police riot shield. Within one

minute, rioters successfully smashed in a window on one side of the Senate Wing Doors and

unlawfully entered the U.S. Capitol Building. A handful of people entered the building through

the broken window and opened the Senate Wing Door. They were the first to breach the interior

of the Capitol. Meanwhile, other rioters, including MILES, continued to smash the window on the

other side of the Senate Wing Door. CCTV footage captured MILES smashing a plank of wood

into the window and then entering the Capitol building through that broken window. LEBRUN

entered through the same window shortly after MILES. See Images 15 – 19.




                                              16
Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 17 of 24




                            Image 15




                            Image 16




                               17
Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 18 of 24




                            Image 17




                            Image 18




                               18
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 19 of 24




                                          Image 19

       27.    After briefly walking through the Capitol building, MILES and LEBRUN exited

through the Senate Carriage Door. See Images 20 – 22.




                                          Image 20




                                             19
Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 20 of 24




                            Image 21




                            Image 22




                               20
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 21 of 24




       28.     According to records lawfully obtained from AT&T, a telephone number that ends

in 0844 (the “0844 Number”) is subscribed to “STEVEN MILES,” with a registered email address

of “sgt.steve.miles@gmail.com.”

       29.     According to records from Facebook, the 0844 Number is linked to an Instagram

account with the vanity names “miles_fitlife,” which is subscribed to “Miles” with a registered

email address of “sgt.steve.miles@gmail.com.”

       30.     According to records from Google, a Google Pay account linked to the email

address “sgt.steve.miles@gmail.com,” includes billing information in the name STEVEN MILES

and   the    0844   Number.      Google      records   also   indicate   that   the   email   address

“sgtmiles.nvc@gmail.com” is subscribed to STEVEN MILES with the 0844 Number as the sign-

in phone number and recovery SMS, and the “sgt.steve.miles@gmail.com” email address as the

recovery email.

       31.     According to records lawfully obtained from the AT&T, the 0844 Number was

connected to a cellular tower located approximately 1,400 feet from the U.S. Capitol building at

12:37 p.m., 12:41 p.m., 1:32 p.m., and 1:43 p.m. and 1:44 p.m. on January 6, 2021. These records

also indicate that the TARGET PHONE was connected to a cellular tower located approximately

500 feet from the U.S. Capitol building at 2:24 p.m. on January 6, 2021.

       32.     According to T-Mobile records obtained pursuant to a judicially authorized search

warrant, on the afternoon of January 6, 2021, the 0798 Number was identified as having utilized a

cell tower consistent with providing service to the geographic area that included the area in and

around the United States Capitol building.

       33.     Hertz, Venmo, USAA and JP Morgan Chase records obtained pursuant to legal

process link a telephone number ending in 4811 (the “4811 Number”) to Alan Fischer III. T-



                                                 21
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 22 of 24




Mobile records obtained pursuant to legal process indicate that a telephone number ending in 9204

(the “9204 Number”) is subscribed to Zachary Johnson. Southwest Airlines and Spirit Airlines

records obtained pursuant to legal process link a telephone number ending in 1967 (the “1967

Number”) to Dion Rajewski.

       34.     A review of telephone records shows that MILES, using the 0844 Number,

communicated with Rajewski, using the 1967 Number, Johnson, using the 9204 Number and

Fischer, using the 4811. Specially, (1) MILES and Rajewski communicated telephonically 161

times between January 3, 2021, and December 3, 2021, with 121 of these contacts occurring

between January 3, 2021, and January 7, 2021; (2) MILES and Fischer communicated

telephonically 192 times between January 3, 2021, and June 25, 2021, with 15 of those contacts

occurring between January 3, 2021, and January 7, 2021; and (3) MILES and Johnson

communicated telephonically 243 times between January 8, 2021, and May 24, 2021.

                                CONCLUSIONS OF AFFIANT

       35.     Based on the foregoing, there is probable cause to believe that MILES violated 18

U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,

impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful

performance of his official duties incident to and during the commission of a civil disorder which

in any way or degree obstructs, delays, or adversely affects commerce or the movement of any

article or commodity in commerce or the conduct or performance of any federally protected

function. For purposes of 18 U.S.C. 231, a federally protected function means any function,

operation, or action carried out, under the laws of the United States, by any department, agency,

or instrumentality of the United States or by an officer or employee thereof. This includes the Joint

Session of Congress where the Senate and House count Electoral College votes.



                                                 22
          Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 23 of 24




          36.   There is also probable cause to believe that MILES violated 18 U.S.C. § 1361,

which makes it a crime to willfully injure or commit depredation against any property of the United

States.

          37.   There is also probable cause to believe that MILES violated 18 U.S.C. § 1752(a)(1),

(2) and (4) and (b)(1)(A), which make it a crime to (1) knowingly enter or remain in any restricted

building or grounds without lawful authority to do so; (2) knowingly, and with intent to impede or

disrupt the orderly conduct of Government business or official functions, engage in disorderly or

disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so

that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or

official functions; and (4) knowingly engage in any act of physical violence against any person or

property in any restricted building or grounds; or attempts or conspires to do so. For purposes of

18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off, or otherwise restricted

area of a building or grounds where the President or other person protected by the Secret Service,

including the Vice President, is or will be temporarily visiting; or any building or grounds so

restricted in conjunction with an event designated as a special event of national significance.

          38.   There is also probable cause to believe that LEBRUN violated 18 U.S.C. §

1752(a)(1) and (2), which make it a crime to (1) knowingly enter or remain in any restricted

building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede

or disrupt the orderly conduct of Government business or official functions, engage in disorderly

or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or

so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or

official functions; or attempts or conspires to do so.




                                                 23
       Case 1:22-mj-00078-GMH Document 1-1 Filed 04/08/22 Page 24 of 24




       39.     There is also probable cause to believe that MILES and LEBRUN violated 40

U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D) utter loud,

threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the

Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of Congress, or the orderly conduct in that

building of a hearing before, or any deliberations of, a committee of Congress or either House of

Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

       40.     Finally, there is also probable cause to believe that MILES violated 40 U.S.C. §

5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of physical

violence in the Grounds or any of the Capitol Buildings.




                                                   ___________________________________
                                                   Special Agent Christopher Leckinger
                                                   Federal Bureau of Investigation


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 8, 2022.
                                                                   Digitally signed by G.
                                                                   Michael Harvey
                                                                   Date: 2022.04.08 15:42:06
                                                                   -04'00'
                                                   ___________________________________
                                                   G. MICHAEL HARVEY
                                                   U.S. MAGISTRATE JUDGE




                                                 24
